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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )            8:09CR81
                                                  )
       vs.                                        )             ORDER
                                                  )
KENNY DOFNER,                                     )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion for a review of the detention order by
defendant Kenny Dofner (Dofner) (Filing No. 114). Dofner seeks release to the Stephen
Center for substance abuse treatment.
       Dofner’s criminal history involves offenses of violence, failure to appear, non-
compliance with parole provisions, and controlled substance violations. He has twice been
provided substance abuse treatment in the past and has failed to maintain sobriety. The
defendant was involved in an attempted home invasion in order to steal controlled
substances. Dofner’s proposal for treatment at the Stephen Center does not reasonably
assure the safety of the community or Dofner’s presence for further proceedings in light of
Dofner’s prior record and circumstances of the present offense as described in the detention
hearing.
       Dofner’s motion for review of the detention order (Filing No. 114) is denied.
       IT IS SO ORDERED.
       DATED this 1st day of June, 2009.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
